Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 1 of 63




         Exhibit 5
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 2 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 3 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 4 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 5 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 6 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 7 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 8 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 9 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 10 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 11 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 12 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 13 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 14 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 15 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 16 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 17 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 18 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 19 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 20 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 21 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 22 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 23 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 24 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 25 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 26 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 27 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 28 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 29 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 30 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 31 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 32 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 33 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 34 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 35 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 36 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 37 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 38 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 39 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 40 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 41 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 42 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 43 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 44 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 45 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 46 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 47 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 48 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 49 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 50 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 51 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 52 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 53 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 54 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 55 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 56 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 57 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 58 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 59 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 60 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 61 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 62 of 63
Case 5:18-cr-00258-EJD Document 1141-5 Filed 11/12/21 Page 63 of 63
